UNDER GOD,

                                    CASE# 3:1 0-cr-00222
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                                                                         U.S. DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT                                       HARTFORD, CONN.




FOR THE DISTRICT OF CONNECTICUT




We the People of the United States,

Robert H. Rivernider/Counterclaimants,

V.


Michael G. Chase,

Defendant.




SUMMONS




TO: Michael G. Chase,

Acting as an official representative of the United States government without proper legal

authority.




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                                         SUMMONS
UNDER GOD,

                                      CASE# 3: 1 0-cr-00222




YOU ARE HEREBY SUMMONED

to file a written response and provide proof of your lawful authority to hold office as a federal

official, within 2 days from the date of service of this summons. Your response must be filed

with the Clerk of the Court at


United States District Court


450 Main St,


Hartford, CT 06103


and a copy of your response must be served on the Plaintiff at the address provided below.


This summons is issued in conjunction with the Writ of Scire Facias filed by We the People of

the United States, demanding that you provide:


    1.   Proof of your valid Presidential Commission, as required by Article II, Section 2 of

         the U.S. Constitution.

    2. Proof of your valid Senate Confirmation, as required by Article II, Section 3 of the

         U.S. Constitution.

    3. Proof of a valid commission from the U.S. Government, your oath of office, and

         fiduciary bond, as required by Article VI, Section 2 of the U.S. Constitution.

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                                      CASE# 3:10-cr-00222




FAILURE TO COMPLY

Failure to provide the requested proof within the 2-day period may result in a Writ of

Forfeiture being issued by default. This forfeiture will result in:


    •   Immediate forfeiture of office.

    •   Nullification of all actions taken by you under the pretense of federal authority.

    • Potential legal claims for damages caused by your unlawful exercise of authority.




REQUIRED RESPONSE

You are commanded to appear before this Court and provide the required documentation proving
your lawful authority, or risk forfeiture of office and further legal penalties.




Respectfully submitted,
We the People of the United States
Robert H. Rivernider, Jr.
c/o 14 S Bobwhite Rd
Wildwood, Florida [34785]

Signature (Seal of We the People):&
                                  __,____,,____-l\..,,,~-__,1r----~"---

Dated: October 21. 2024


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                                     CASE# 3: 1 0-cr-00222



ISSUED BY ORDER OF THE COURT


DATED: October 21, 2024




NOTICE TO DEFENDANT


You must respond within 2 days of receiving this summons. Failure to do so may result in
default judgment against you, forfeiture of office, and other penalties as deemed appropriate by
the Court.


IN A FEDERAL CRIMINAL CASE




TO: Michael G. Chase,
Acting as an official representative of the United States government but without proper legal
authority.




In the name and under the signature of We the People, this Writ of Scire Facias is hereby

issued to command that you, Michael G. Chase, show cause why your actions in this matter

should not be deemed void, unlawful, and why you should not forfeit any claim to lawful

authority due to the following violations of the U.S. Constitution:

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I. COUNTER-CLAIM FOR FAILURE TO POSSESS PRESIDENTIAL

COMMISSION


Violation of Article II, Section 2 of the U.S. Constitution


The U.S. Constitution mandates under Article II, Section 2 that all executive officers must be

appointed by the President of the United States, with the advice and consent of the Senate.

Michael G. Chase has acted in an official capacity, yet no Presidential Commission has been

issued to validate their authority. As such, all actions taken by the Defendant in this capacity are

unlawful and in violation of the Constitution.




II. FAILURE TO OBTAIN SENATE CONFIRMATION


Violation of Article II, Section 3 of the U.S. Constitution


Article II, Section 3 of the Constitution requires that certain public officials must be confirmed

by the U.S. Senate before assuming their duties. The Defendant, Michael G. Chase, has failed

to provide proof of Senate confirmation, rendering their exercise of authority as a federal

official illegitimate. This lack of confirmation voids any and all acts purportedly taken under the

color of federal office.


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III. NO VALID COMMISSION FROM THE UNITED STATES
GOVERNMENT

Violation of Article VI, Section 2 of the U.S. Constitution

Under Article VI, Section 2 (the Supremacy Clause) of the U.S. Constitution, all government
officials are required to be bound by oath or affirmation to support the Constitution.
Furthermore, certain offices demand a valid commission, fiduciary bond, and oath of office
before duties can lawfully be exercised. The Defendant, Michael G. Chase, has failed to provide
any such commission, oath, or bond. This failure violates the core legal principles that ensure the
lawful exercise of authority in the U.S. government.




IV. FAILURE TO LOCATE THESE RECORDS


On this day, October 21, 2024, the Custodian of Records did not locate any valid presidential

commission, Senate confirmation, or oath of office in the official records. Therefore, Michael

G. Chase is not qualified to hold office. By acting without these required legal documents, the

Defendant is unlawfully changing the form of government by operating outside the

constitutional framework established for federal officials.




V. DEMAND FOR PROOF OF LAWFUL AUTHORITY WITHIN 2 DAYS

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                                          SUMMONS
UNDER GOD,

                                  CASE# 3:1 0-cr-00222
You, Michael G. Chase, are hereby commanded to provide within 2 days:


    1.   Proof of a valid Presidential Commission, as required by Article II, Section 2 of the

         Constitution.

    2. Proof of Senate Confirmation, as required by Article II, Section 3.

    3. Proof of a valid commission from the U.S. Government, an oath of office, and
         fiduciary bond, as required under Article VI, Section 2.




VI. DEFAULT WRIT OF FORFEITURE IF NO COMPLIANCE


If you fail to provide the requested proof within the 2-day period, a Writ of Forfeiture will be

entered against you by default. This forfeiture will result in:


    •    Immediate forfeiture of office,

    •    Nullification of all actions taken by you under the pretense of federal authority,

    •    Legal claims for damages caused by your unlawful exercise of authority.




VII. RELIEF SOUGHT


Wherefore, We the People, as Counterclaimants, respectfully demand the following:


    1.   A declaration that the Defendant's actions are void and that the Defendant is unlawfully

         acting without proper authority.
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                                   CASE# 3:10-cr-00222
   2.   An order compelling the Defendant to provide proof of the required Presidential

        Commission, Senate Confirmation, and oath and bond.

   3.   If no compliance is provided within 2 days, an immediate Writ of Forfeiture removing

        the Defendant from office.

   4.   Any other relief this Court deems appropriate and necessary under the circumstances.




Respectfully submitted,
We the People of the United States
Robert H. Rivernider, Jr.
c/o 14 S Bobwhite Rd
Wildwood, Florida [34785]


Signature (Seal of We the People)]
Dated: October 21, 2024                 V
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ISSUED BY ORDER OF THE COURT

DATED: October 21, 2024


CC: 1. Connecticut Federal Grand Jury

        450 Main St., Hartford, CT 06103

   2. United States House of Representatives

        Speaker Michael Johnson



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                                         SUMMONS
UNDER GOD,

                             CASE# 3: 1 0-cr-00222
     568 Cannon House Office Building
     Washington, DC 20515


  3. US House Judiciary Committee Chairman Jim Jordan
     2138 Rayburn House Building Washington, DC 20515
  4. US Senate Judiciary Committee Chairman Richard Durbin
      224 Dirksen Senate Office Building Washington, DC 20510
  5. Attorney General State of Florida
     Attorney General Ashley Moody Office of the Attorney General
     State of Florida
     PL-01,
     The Capitol Tallahassee, FL 32399-1050
  6. Attorney General State of Connecticut Attorney General William Tong
     Office of the Attorney General
     165 Capitol Avenue
      Hartford, CT 06106
  7. The Connecticut General Assembly Grand Jury
      Legislative Office Building
     300 Capitol Avenue RM 5300
     Hartford, CT 06106
  8. Governor Ned Lamont State Capitol
     210 Capitol Avenue
     Hartford, CT 06103

  9. Sumter County Florida Sheriff William Farmer
     C/O Under Sheriff Patrick Breeden
     7361 Powell Rd.
     Wildwood, FL 34785




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                                  SUMMONS
